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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS

Bureau of Consumer Financial                   )
Protection,                                    )       Case No. 1:20-cv-04176
                                               )
         Plaintiff,                            )
                                               )
vs.                                            )
                                               )
Townstone Financial, Inc. and                  )
Barry Sturner                                  )
                                               )
         Defendants.                           )

      DEFENDANTS’ COMBINED MOTION TO DISMISS PLAINTIFF’S COMPLAINT

         Defendants Townstone Financial, Inc. (“Townstone”) and Barry Sturner (“Sturner”), by

counsel, and pursuant to Fed. R. Civ. P. 12(b)(6), respectfully move this Court to dismiss the

amended complaint (the “Amended Complaint”) filed by Plaintiff, Bureau of Consumer Financial

Protection (the “Bureau”). The grounds for this Motion are further set forth in the Memorandum

of Law in Support of Defendants’ Combined Motion to Dismiss (“Memorandum”), which is filed

contemporaneously herewith. As further explained in the Memorandum:

         1.      The Amended Complaint fails because contrary to the express language used in the

Equal Credit Opportunity Act (“ECOA”), 15 U.S.C. §§ 1691–1691f, the Bureau and ECOA’s

implementing Regulation B, 12 C.F.R. § 1002.4(b), improperly seek to:

                  a. expand the reach of ECOA to reach “prospective applicants”;

                  b. regulate “discouraging” behavior before a “credit transaction” even exists,

                       and;

                  c. create affirmative advertising and hiring requirements, which cannot be

                       squared with the unambiguous language of the statute.

         2.      Even if such an expansion is appropriate under the statutory scheme, Regulation B

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and the Bureau’s interpretation thereof runs contrary to the First Amendment of the United States

Constitution because the Bureau seeks to regulate the content and viewpoint of protected speech

and does so in a way that is unconstitutionally overbroad and vague, both as applied to Townstone

and facially.

        3.      Similarly, Regulation B and the interpretation thereof are also unconstitutionally

vague in violation of the Fifth Amendment’s due process clause, both as applied to Townstone and

facially.

        4.      Finally, the derivative claim against Townstone’s owner, Barry Sturner should also

be dismissed because that claim only becomes relevant if the Bureau succeeds on its claims against

Townstone, which for reasons articulated herein, it cannot.

        WHEREFORE, for the foregoing reasons and the reasons set forth in their Memorandum,

Defendants Townstone Financial, Inc. and Barry Sturner respectfully request this Court to dismiss

the Bureau of Consumer Financial Protection’s Amended Complaint with prejudice and for all

other relief just and proper in the premises.

                                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I hereby certify that on February 8, 2021 a copy of the foregoing was filed electronically.
Service of this filing was also made by operation of the Court’s CM/ECF system:

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                                                     /s/ Sean P. Burke______________
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